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4A)TASER

Prate@e«ct

Lita

SUPERVISORY TASER USE REPORT

Suspect Name {David Wiliams } Report Date 12/16/2016/F
Location {Moris Brown Rd, 4 Booned [Yes
Charges [sanity
Officer's Name |upsaph White i Capt [Tonya Madison _!
Superviser {Chris Cline | TASER Senst # |x120038y7 |
Medical Faculty: jnone Doctor [none _|
oR# | 2016033854] Fire DR# {none |
Date of the Incident 14-Dec] Time of Incident'|11:00 a.m
Location ef the incident | Moris Brown R.
Officer(s} Invalved (Joseph White
Nature of the Call =
or Incident [Warted Fugitive |
Type of Subject (] turnan [1 animat
Type of Force Used in addition to TASER (Check all that apply)
DC acycherncat [9] physica: (2) Setar [J impact Munstion Lo Frese
Nature of the Injunes and Medical Treatment Required. {none |

Adritted to Hospital for nunes

Adrnittad to Hospital for Psychiainc

Medical Exam

Summary of the Actons of Officerts) Involved

Was an Officer, Law Enforcement Employes Injured? [No

Inciaent Type [chock appropriate response(s) beiow)

No

No

No

White shot wanted fugitive David Williams after acarchase /
and foot pursuit. i

(] chal Doturbance [+] Vietent Suspect (J Warrant Service
[71 Sutcicss ) pansade id other
Ags [40's Sex [Male
Height |6'0 Race |white
Build [7] Heavy [] Mesum [te
Suspect wearing heaving clothes [yes |

TASER Application Actual Use 1] Arc Display On [_] peplay ony

TASER Use Mode (1 Dart P-obe Contact Touch Stun Contact

Type of TASER Device [check appropriate response(s) beluw]
[I TASER x26 (J spvancep TASER M26

# ADVANCED TASER M26 whet type of batenes (not TASER X26) [check appropriate response(s) below]

(o] Rechargeatie NiMH [2] Alkane

Type of AIR CARTRIDGE (check appropnate response(s) below]

() a5 ac
("] 35-F ac

Clarstned = Oane
(7! 25-Ft Standara (5 25- xp

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‘SYNOPI Gi.

On December 14, 2014 Cpl. White and Sgt Myers was joking for wanted fugitive David Williams. White and Myers spotted

Williams on Hwy 15 north in a dark colored ford truck. Williams began to run from White and Myers in the vehicle, Williams
turned onto Morris Brown Rd. befor wrecking out in a private yard. Williams balled and ran on foot
close enough to to deploy the taser and take Williams into custody.

White pursued and got

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Suspect Under the influence [ ed
Confimad by /Suspect David Williams told Deputies he had been using
methamphetimen prior to the incident.

Descice the canner present
Subject David Willams was a wanted fugitive from justice and Deputies had received information that Willams was armed =;
wih a 7mm rifle and possibly a handgun.

Describe ote: means attempted to control the suhject: {if not used, expiain)

Chenccal Spray Used? [No i
Explanation fclose proximating of other Deputies
Baten ce Bturd Insttument? [No T
Explenaion
Authorized cortrol holds? {no iL
Phetegraphs Taken | No i
lf net, axpiaiy
Report Completed by.|Joseph White SO 30 i oe een
Signature (Hard Cory)
ADDITIONAL INFORMATION
[
INSTRUCTIONS:

4. Save this file to your hard drive. tt will not email properly until after being saved,
2. Submit this report to the national TASER technology incident database.

Email to: Andrew@TASER.com
Click “File” > "Send" > “Mail fcciplent” (send to: Andrew@TASER.com)

3. if you cannot email, please fax this report to: (480) 991-0791 Attn: Andrew Hinz, 600-978-2737 ext. 2048
4. Save a copy of this report to your department archives.

§ Pritt.and sign @ cosy of this report and deliver to supervising officer for fillne In department records.

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